        Case 2:23-cv-00580-APG-EJY Document 4 Filed 04/17/23 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                                           OFFICE OF THE CLERK
                                           DISTRICT OF NEVADA
                                   LLOYD D. GEORGE U.S. COURTHOUSE
                                      333 LAS VEGAS BLVD S RM 1334
                                           LAS VEGAS NV 89101
                                               (702) 464-5400

Case Number 2:23-cv-00580-APG-EJY

Case Title:      DeCastro v. Las Vegas Metropolitan Police Department et al

Dear Litigant:

       You are notified that the above case number has been assigned to your action. You must
include the complete case number on all documents sent to the Court for filing in this case. Failure
to do so results in delayed processing of your documents.

       All matters in this action shall be sent to the following address until further notice:

                               U.S. District Court Office of the Clerk
                           333 Las Vegas Boulevard South, Room 1334
                                      Las Vegas, NV 89101

        If you are attempting to proceed in forma pauperis, the Court will review your complaint
before docketing and serving the complaint on the defendants. The Court will “screen” your
complaint to identify any “colorable” claims. The Court will also dismiss any claims that are
“frivolous, malicious, or fail to state a claim upon which relief may be granted” or if the complaint
“seeks monetary relief from a defendant who is immune from such relief.” See 28 U.S.C.
1915(e)(2)(B); Lopez v. Smith, 203 F.3d 1122, 1129 (9th Cir. 2000) (en banc) (holding that this
provision applies to all actions filed in forma pauperis, whether or not the plaintiff is incarcerated).
This process may take many months.

       For timely processing of your pleadings or correspondence, please comply with our Local
Rules of Practice for the U.S. District Court District of Nevada, in particular:

   •   In Forma Pauperis Application: If you intend to proceed in forma pauperis, you must
       complete an application to proceed in forma pauperis on this Court’s approved form.
       Please refer to the instructions that are attached to the form for more information.

   •   Change of Address: You should immediately file with the Court written notification of any
       change of address you have. The written notification must include proof of service upon
       each opposing party or the party’s attorney. If you fail to follow this rule, the Court may
       dismiss your case with prejudice. (Local Rule IA 3-1)

   •   Formatting: The documents you submit to the Court must be legible, on letter-sized paper
       (8 ½” x 11” paper), with writing on one (1) side of the page only with margins of at least
       one (1) inch on all four sides of the paper. Pages should be stapled, when possible, once
       in the top left corner of the first page. Pages within a document should not be stapled
       separately. No other adhesive is permitted. Please see the attached Exhibit A for a
       sample. (Local Rule IA 10-1)


                                              Page 1 of 4
                                           (Non-inmate pro se)
                                            Revised: 03-13-18
       Case 2:23-cv-00580-APG-EJY Document 4 Filed 04/17/23 Page 2 of 4




   •   Caption: Every document you submit to the Court must include your name, address, and
       telephone number in the upper left hand corner of the first page. The caption on the first
       page must include the title of this Court, the title of the action, the case number assigned
       to this action (including all initials and letters that follow the number), and the title of your
       document. If you are pursuing more than one action in this Court, you must submit a
       separate original document with the appropriate case number for each action in which you
       want the document filed. Please see attached Exhibit A for a sample. (Local Rule IA 10-
       2)

   •   Electronic Filing: Pursuant to Local Rule IC 2-1(b), a pro se litigant may request by
       motion the Court’s authorization to register as an electronic filer in a specific case. Please
       refer to the Local Rules of Practice, Section IC for more information on this topic.

   •   Amended Complaints: If you file a motion to amend your complaint, you must attach the
       proposed amended complaint to the motion. The proposed amended complaint must be
       complete in itself and include all claims, defendants, and factual allegations that you wish
       to pursue in the proposed amended complaint. (Local Rule 15-1)

Other Provisions:

   •   Request for Case Status: The Court will notify you as soon as any action is taken in your
       case. Due to the large number of civil actions pending before the Court, THE CLERK IS
       UNABLE TO RESPOND IN WRITING TO INDIVIDUAL INQUIRIES REGARDING THE
       STATUS OF YOUR CASE. As long as you keep the Court apprised of your current
       address, you will receive all Court decisions which might affect the status of your case.

   •   Letters to the Clerk’s Office: The Clerk of the Court is unable to respond to letters
       requesting status. Requests must be in the form of a motion and not just a letter.

   •   Repetitive Motions: Filing multiple motions requesting the same relief is a litigation tactic
       that strains the resources of the Court and generally delays a decision in the case. The
       Court may impose sanctions on parties who engage in such litigation tactics.

   •   Evidence: The parties may not file evidence with the Court until the course of litigation
       brings the evidence into question.

   •   Screening Orders: If you have: (1) submitted a complaint and (2) filed a fully complete
       in forma pauperis application, the Court will screen your complaint and issue a separate
       screening order in the future. The Court may issue a screening order several months after
       you submit your complaint.

   •   Service: If you are granted in forma pauperis status, the Court will order service upon
       defendants when it is time to do so. If you are not proceeding in forma pauperis or are
       denied in forma pauperis status, you are responsible for service of process upon
       defendants and all costs related to such service.

   •   Docket Sheet: The Court will keep track of your filings on a docket sheet. A docket sheet
       is a formal record on which judges or court clerks briefly note all proceedings and filings


                                              Page 2 of 4
                                           (Non-inmate pro se)
                                            Revised: 03-13-18
Case 2:23-cv-00580-APG-EJY Document 4 Filed 04/17/23 Page 3 of 4



in a court case. If you wish to receive a copy of the docket sheet in your case from the
Court, the cost is $0.50 per page.

       This is an advisory letter only. Please do not rely solely on this letter. All litigants
are required to follow the Local Rules of Practice for the District of Nevada. A copy of
the Local Rules can be found on the court’s website at www.nvd.uscourts.gov.

       If you would prefer to read this letter in Spanish, please request a Spanish
version of this letter from the Clerk of Court. Parties are reminded that all papers
submitted to the court must be written in English.

       Si usted prefiere leer esta carta en español, por favor, solicite una versión
en español de esta carta a la oficina del secretario del juzgado (Clerk of Court).
Se le recuerda a las partes que todos los documentos que presenten en el
juzgado deben estar ecritos en inglés.


                                       DEBRA K. KEMPI, CLERK


                                       By: ______/s/____________
                                             Deputy Clerk




                                      Page 3 of 4
                                   (Non-inmate pro se)
                                    Revised: 03-13-18
      Case 2:23-cv-00580-APG-EJY Document 4 Filed 04/17/23 Page 4 of 4




Name
Address
Telephone
Email Address



                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEVADA




Your name,                               Case # __:___-CV-_______-____(   )

                Plaintiff,

v.                                       TITLE OF DOCUMENT

Name(s) of Defendants,

            Defendants.
__________________________/




                                   EXHIBIT A
                                        Page 4 of 4
                                     (Non-inmate pro se)
                                      Revised: 03-13-18
